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11                            UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
       DAVID ROVINSKY LLC, a Delaware              Case No. 2:20-cv-02580-ODW-AS
14     limited liability company,                  THIRD-PARTY DEFENDANTS JONA
15                                                 S. RECHNITZ AND RACHEL
             Plaintiff,                            RECHNITZ’S REPLY IN SUPPORT
16                                                 OF MOTION FOR STAY OF
                                                   PROCEEDINGS; SUPPLEMENTAL
17     PETER VOUTSAS aka PETER MARCO               DECLARATION OF REUVEN L.
       aka PETER VOUTSAS, aka PETER                COHEN
18     MARCO EXTRAORDINARY JEWELS
       OF BEVERLY HILLS, dba PETER                 Date:            June 15, 2020
19     MARCO LLC,                                  Time:            1:30 p.m.
                                                   Courtroom        5D
20
             Defendants/Third-Party Plaintiffs,
21
       vs.
22
23     JONA S. RECHNITZ, an individual;
       RACHEL RECHNITZ, an individual;
24     LEVIN PARDO aka LEVON PRADO, an
       individual,
25
26           Third-Party Defendants.

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28
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1                                       I.   INTRODUCTION
2            Peter Marco’s oversized Opposition only emphasizes why Rechnitz Defendants’
3      Motion for Stay should be granted. 1 While simultaneously claiming any threat of criminal
4      prosecution is speculative because no indictment has been returned, Marco continuously
5      alleges that the conduct underlying this lawsuit is criminal. (See, e.g., Dkt. 48 [Opp.] at 2
6      (“In truth, Jadelle was a mere front for Jona and Rachel Rechnitz to run their fraudulent
7      enterprise . . . .”), 14, n. 9 (“Even if, as Marco contends, all Rechnitz Defendants engaged
8      in conduct that constitutes crimes . . . .”).) This is precisely why a stay is necessary—the
9      government is investigating allegations relating to Rechnitz Defendants’ jewelry business,
10     including allegations Peter Marco made in the Amended Third-Party Complaint.
11           Peter Marco’s Opposition heavily relies on the misleading argument that, because no
12     indictment has been returned, any stay would be indefinite. This argument is unsupported
13     by the law and the facts. Legally, many courts, including this one, have found a stay to be
14     appropriate prior to the return of an indictment if, upon consideration of various factors, the
15     court determines that the balance of those factors weighs in favor of a stay. Here, where
16     Rechnitz Defendants’ Fifth Amendment rights are unquestionably implicated and the
17     prejudice to Rechnitz Defendants is manifest, the balance of factors favors a stay. Rechnitz
18     Defendants are not requesting an unlimited stay. They seek a limited 6-month stay, at
19     which point they request a status conference to discuss the necessity of any further stay.
20     Such a limited request greatly alleviates any claimed prejudice to Peter Marco.
21           A stay is further warranted in light of the pending bankruptcy proceeding initiated by
22     Peter Marco and others against Jadelle LLC. Peter Marco has brought his claims to
23     multiple forums, where he has taken inconsistent positions, such as to whom jewelry was
24     consigned. This attempt to recover against different parties in different forums for the
25     exact same claims is pure gamesmanship. Accordingly, fairness, on top of Rechnitz
26
27     1
        David Rovinsky argues that a stay of Peter Marco’s claims against Third-Party
       Defendants should not affect his claims against Peter Marco. Rechnitz Defendants agree
28     and do not seek a stay of Rovinsky’s claims.
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1      Defendants’ Fifth Amendment rights, favors a stay pending completion of the bankruptcy
2      proceeding, to the extent any claims are not automatically stayed by that proceeding.
3                                          II.   ARGUMENT
4      A.    Peter Marco’s “Statement of Facts” Contains Objectionable and Misleading
5            Allegations and Characterizations.
6            The 9 pages of Peter Marco’s Opposition purporting to be a “Statement of Facts” are
7      actually comprised of unsupported assertions, irrelevant allegations, and ad hominem
8      attacks (mostly related to the irrelevant and inadmissible criminal history of one of the
9      defendants) in an attempt to distract the Court from the issue at hand: whether a stay would
10     serve the interests of justice. While most of Marco’s “factual” claims are not worth
11     addressing, two issues must be addressed.
12           First, Peter Marco’s attempts to re-write the declarations of Reuven Cohen that were
13     submitted in support of motions to stay filed in this case, in a state civil suit filed by Victor
14     Franco Noval, and in a state civil suit filed by Sam Gorodistian, are disingenuous and
15     misleading. Contrary to Marco’s claims (Opp. at 6-8), Mr. Cohen never tailored his
16     declarations to imply that the Beverly Hills Police Department confirmed there were
17     separate investigations into separate allegations related to Noval, Gorodistian, and now
18     Peter Marco. Instead, each of Mr. Cohen’s declarations specifically stated that he was
19     alerted to the possibility of a criminal investigation into allegations related to Rechnitz
20     Defendants’ jewelry business through a draft complaint that was sent to him on February 4,
21     2020 by Noval’s lawyer. (See Dkt. 48 [Decl. of Baruch Cohen in support of Opp. (“B.
22     Cohen Decl.”)], Exhs. 2 at 13-14, 3 at 14; Dkt. 47 [Decl. of Reuven Cohen in support of
23     Motion (“R. Cohen Decl.”)] at 2.) The allegations made in the draft Noval complaint, just
24     like the allegations made by Peter Marco in this action, were related to alleged fraud with
25     respect to the manner in which Rechnitz Defendants’ jewelry business operated. (See B.
26     Cohen Decl., Exh. 2 at 20-32.) Upon becoming aware of a potential investigation into such
27     operations by Noval’s draft complaint, Reuven Cohen contacted the Beverly Hills Police
28     Department and confirmed that allegations related to the fraud claims surrounding Rechnitz
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1      Defendants’ jewelry business had been referred to the FBI. This was true each time
2      Reuven Cohen stated it in a declaration, and it remains true now.
3            Not only are Peter Marco’s attempts to distort the language of the declarations
4      misleading, they are evidence of Marco’s pattern of taking inconsistent positions to gain a
5      tactical advantage in front of this Court. Prior to filing the Opposition, Peter Marco had
6      alleged a singular scheme to defraud involving Rechnitz Defendants’ jewelry business—a
7      scheme which had numerous victims. Indeed, Peter Marco pled that both Noval and
8      Gorodistian were victims of such a scheme. (Dkt. 39 [Amended Third-Party Complaint
9      (“Complaint”)] at ¶¶ 57, 59 (referring to them as “one of Jona’s recently defrauded
10     victims” and “another one of Jona’s defrauded victims”).) Indeed, Peter Marco affirmed
11     this position in his Opposition. (See, e.g., Opp. at 2, n.1 (“. . . Jona continues to use and
12     control Jadelle to defraud scores of innocent parties. Marco is just one of the recently
13     defrauded parties.”).) Moreover, Peter Marco made allegations in both the Amended
14     Third-Party Complaint and the Opposition regarding checks made out to Noval. (See
15     Complaint at ¶ 14; Opp. at 5-6).) While these allegations are wholly irrelevant to any
16     claims Peter Marco may have against Rechnitz Defendants, the only possible explanation
17     for their inclusion is if Peter Marco believes those checks were related to one scheme to
18     defraud—of which both Peter Marco and Noval were alleged victims.
19           Marco now claims that any potential fraud giving rise to investigation of Rechnitz
20     Defendants or their jewelry business could only involve one victim—Noval, Gorodistian,
21     or Peter Marco. This argument is intellectually dishonest and factually incorrect, as the
22     criminal investigation is not limited to any one litigant’s claims. But more importantly, the
23     argument is irrelevant, because the criminal investigation without question involves the
24     allegations made by Peter Marco in this action, which is what matters for this Motion. (See
25     Supplemental Decl. of Reuven Cohen (“Supp. R. Cohen Decl.”) at ¶ 3.)
26           Second, Peter Marco misrepresents the nature of the meet and confer correspondence
27     leading up to this Motion. Marco alleges that the meet and confer was “patently deceptive
28     and misleading.” (Opp. at 10.) In support of this contention, he claims that Rechnitz
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1      Defendants’ counsel claimed to be made aware of a police report from “a soon-to-be-filed
2      new plaintiff” and “felt the need to hide the identity of Noval’s counsel.” (Opp. at 10.)
3      Such allegations are baseless and contradicted by the entirety of the meet and confer
4      correspondence, which shows that Rechnitz Defendants’ counsel merely informed Marco’s
5      counsel that they initially became aware of a criminal investigation through a draft
6      complaint of a litigant in a different case (Noval), and upon request by Marco’s counsel for
7      more information about that draft complaint, Rechnitz Defendants’ counsel immediately
8      provided it. (Supp. R. Cohen Decl. at ¶ 4, Exh. A.) 2 Nothing about that is deceptive or
9      misleading.
10     B.    The Interests of Justice Require a Stay of the Proceedings.
11           While not constitutionally required, it has long been held that a court has the
12     discretion to stay civil proceedings pending related criminal proceedings when the interests
13     of justice require it. Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir.
14     1995) (quoting Securities & Exchange Comm'n v. Dresser Indus., Inc., 628 F.2d 1368,
15     1375 (D.C. Cir. 1980)). Peter Marco concedes that the factors in Keating apply in
16     determining whether to exercise that discretion. (Opp. at 11:26 – 12:7.) But, his
17     application of those factors misses the mark.
18           1.      The first Keating factor—the extent to which Rechnitz Defendants’ Fifth
19                   Amendment rights are implicated—favors a stay.
20           Contrary to Peter Marco’s contentions, the absence of an indictment is not “fatal” to
21     the Motion. In fact, the case on which Peter Marco relies in support of this position,
22     Applied Materials, Inc. v. Semiconductor Spares, Inc., actually supports Rechnitz
23     Defendants’ position. Nos. C95-20129RMW(EAI), C95-20156RMW(PVT), 1995 WL
24     261451, at *3 (N.D. Cal. Apr. 26, 1995). In Applied Materials, the district court found that,
25     while implication of the defendant’s Fifth Amendment rights would be stronger if an
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27     2
        Peter Marco cherry-picked one email from the meet and confer correspondence. The
       entirety of that correspondence is attached as Exhibit A to the Supplemental Declaration of
28     Reuven Cohen.
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1      indictment had been returned, the defendant did indeed have Fifth Amendment rights
2      where there was a pending criminal investigation into the subject matter of the civil suit
3      and the defendant had not yet testified and waived any such right. Id. The court ultimately
4      denied the motion to stay, not because no indictment had been returned, but because after
5      considering the facts specific to that case, the court found that the defendant’s Fifth
6      Amendment interest was outweighed by other factors. Id. at 4. This decision is in accord
7      with the many cases granting a stay pending a criminal investigation. See, e.g., Franco v.
8      City of W. Covina, No. EDCV 18-2587-JGB (SHKx), 2019 WL 6794203, at *2 (C.D. Cal.
9      July 5, 2019) (granting stay of deposition and discovery related to officer’s involvement in
10     shooting where authorities were reviewing legality of shooting, and noting “[while
11     defendant-officer’s] Fifth Amendment rights are implicated to a lesser extent than they
12     would be if charges had been brought against him . . . this case is not one in which there is
13     an ‘absence of any hint of criminal proceedings’”); Clifford v. Trump, No. CV 18-02217
14     SJO (FFM), 2018 WL 3435419, at *3, 6 (C.D. Cal. Apr. 27, 2018) (granting 90-day stay in
15     light of ongoing criminal investigation, scheduling status conference at expiration of those
16     90 days, and noting that “there [was] a large potential factual overlap between the civil and
17     criminal proceedings that would heavily implicate [defendant’s] Fifth Amendment rights”);
18     C.M. by & through McLain v. City of Los Angeles, No. 17-CV-05135-VAP-AGRx, 2017
19     WL 10527380, at *2 (C.D. Cal. Oct. 19, 2017) (“[T]he Court may still order a stay if there
20     is substantial overlap between the criminal investigation and the allegations in the
21     lawsuit.”); Consumer Fin. Prot. Bureau v. Global Fin. Support, Inc., No. 15-CV-02440-
22     GPC-WVG, 2016 WL 2868698, at *3 (S.D. Cal. May 17, 2016) (granting 120-day stay and
23     setting status conference to determine necessity of further stay in light of ongoing
24     investigation by IRS and FBI).
25           Here, there is no doubt Rechnitz Defendants’ Fifth Amendment rights are implicated.
26     Both local and federal law enforcement officers have confirmed that a criminal
27     investigation relating to Rechnitz Defendants’ jewelry business exists. Moreover, the
28     conduct alleged by Peter Marco in this very case directly overlaps with the pending
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1    criminal investigation. 3 (Suppl. R. Cohen Decl. ¶ 3.) This is unsurprising given that Marco
2    has continuously alleged in public filings that Rechnitz Defendants engaged in a pattern of
3    criminal conduct involving multiple victims.
4          As this Court noted in Pinnock v. Doe, in a situation like this, “a civil defense and
5    remaining silent are mutually antagonistic choices.” No. 2:14-CV-05551-ODW, 2014 WL
6    4679007, at *3 (C.D. Cal. Sept. 19, 2014) (finding extent to which defendant’s Fifth
7    Amendment rights were implicated justified a 90-day stay of case to determine whether
8    District Attorney’s investigation would turn to prosecution, and noting that once 90-day
9    period expired, defendant was required to file a status report regarding District Attorney’s
10   investigation and permitted to file a motion to stay the case further). “Choosing one
11   necessarily results in giving up the other.” Id. Because the trier of fact in a civil matter can
12   draw adverse inferences from the invocation of the Fifth Amendment, Doe ex rel. Rudy–
13   Glanzer v. Glanzer, 232 F.3d 1258, 1264 (9th Cir. 2000), invoking the Fifth in this civil
14   matter will effectively require Rechnitz Defendants “to forfeit any defenses in this action.”
15   Pinnock, 2014 WL 4679007, at *3. Alternatively, defending the civil action would require
16   Rechnitz Defendants to make statements in response to Peter Marco’s allegations, and
17   those statements “would certainly be fodder for a later criminal prosecution.” Id. As this
18   Court has stated, “[t]his leads to the inevitable question of whether a civil defendant in a
19   situation like [Rechnitz Defendants] really does have a voluntary and intelligent ‘choice’
20   when neither option can save the defendant from either civil or criminal liability.” Id.
21         Importantly, and contrary to Peter Marco’s assertions, the requested stay is not
22   unlimited. Instead, Rechnitz Defendants are seeking only a 6-month stay, at which point
23   the criminal investigation may be closed. Such a stay is reasonable and necessary to
24   protect Rechnitz Defendants’ Fifth Amendment interests. See Pinnock, 2014 WL 4679007,
25   at *3 (“Court notes that this factor is slightly less pressing in this case because the Los
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27   3
       Rechnitz Defendants intend to file an ex parte application seeking the Court’s approval to
     file, in camera, a declaration from counsel containing further support for a stay, including
28   more details relating to the criminal investigation.
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1    Angeles County District Attorney has not yet charged Andrew with any crime. But the
2    short, 90–day stay Andrew requests counterbalances any weakness in this factor. In fact,
3    the Court can and will order that the stay will terminate either at the end of 90 days or if the
4    District Attorney announces that it will not prosecute Andrew, whichever occurs first. The
5    stay, therefore, might well be shorter than 90 days depending upon the outcome of the
6    District Attorney's investigation.”). Thus, the first Keating factor favors a stay.
7          2.     Any prejudice to Peter Marco as a result of a stay is overblown and does
8                 not outweigh the other factors.
9          Peter Marco first argues that he will be prejudiced by a stay because the requested
10   stay is essentially indefinite. As explained above, this is false. Rechnitz Defendants are
11   requesting a limited 6-month stay. At the expiration of those 6 months, the Court would
12   not be required to grant another stay. Instead, if a further stay is requested, which may not
13   be the case, the Court would only be required to conduct the same fact-intensive analysis
14   and weigh the various factors to determine whether a further stay is warranted.
15         Peter Marco also argues that he will be prejudiced because a stay could prevent him
16   from “obtaining critical evidence regarding Rechnitz’s fraudulent schemes, including the
17   identities of persons who may have assisted in or have knowledge of Rechnitz’s
18   fraudulent activities.” (Opp. at 17.) This argument rings hollow. Should Peter Marco
19   seek discovery regarding “fraudulent schemes,” counsel for Rechnitz Defendants would
20   likely advise them to invoke the Fifth Amendment. Thus, Peter Marco would likely not
21   obtain any information that he does not already have. Moreover, Peter Marco has failed to
22   show any likelihood that other individuals were actually involved in the alleged scheme.
23   His own allegations suggest otherwise. For instance, Marco would necessarily already
24   know those individuals who allegedly breached the contract and made the alleged
25   intentional misrepresentations claimed in this case.
26         Peter Marco’s concerns about fading memories and loss of evidence are overblown,
27   given the limited duration of the requested stay. And Rechnitz Defendants are already
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1    preserving documents related to this litigation, so there is no concern that documentary
2    evidence will become unavailable.
3          Finally, Peter Marco argues that “delaying this case until criminal proceedings have
4    concluded will almost certainly prevent Marco from fully recovering its losses, since a
5    significant portion of the very funds that were fraudulently obtained from Marco will
6    likely be used to defend Rechnitz’s criminal action.” (Opp. at 18.) However, only two
7    paragraphs earlier in the Opposition, Marco argues a stay shouldn’t be granted because
8    “the possibility of an indictment is largely speculative.” (Id. at 17.) Marco cannot
9    simultaneously argue that an indictment is so speculative as to require a denial of a stay
10   while also claiming that a denial is warranted because it is practically a certainty that
11   Rechnitz Defendants will be indicted and will need to use any funds available to satisfy a
12   potential civil judgment to defend themselves in the criminal action.
13         As Rechnitz Defendants stated in their Motion, the only obvious prejudice to Peter
14   Marco is the delay in recovery of a potential monetary judgment. Such a delay “is not
15   sufficient prejudice to warrant denial of a stay.” Larsen v. City of Los Angeles, No.
16   CV1204392GAFAJWX, 2012 WL 12887557, at *9 (C.D. Cal. Aug. 3, 2012). And any
17   inconvenience to Marco is alleviated by the limited duration of the requested stay and
18   outweighed by the other factors, including the paramount importance of preserving
19   Rechnitz Defendants’ constitutional rights.
20         3.     The remaining factors favor a stay.
21         On balance, the remaining Keating factors weigh in favor of a stay.
22         First, the burden imposed by the proceedings on Rechnitz Defendants favors a stay.
23   Peter Marco does not refute that absent a stay, Rechnitz Defendants will be severely
24   prejudiced as they will be forced to choose between essentially ceding to a multi-million-
25   dollar civil judgment or forfeiting their Fifth Amendment rights. Additionally, proceeding
26   in this matter could require the production of discovery and the disclosure of potential
27   defenses to any criminal allegations, neither of which the government would otherwise be
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1    entitled to in advance of a criminal trial. None of Marco’s so-called “less drastic” measures
2    do anything to mitigate the prejudice to Rechnitz Defendants of proceeding without a stay.
3           Second, the efficient use of judicial resources favors a stay. As noted in the Motion,
4    courts have recognized that a stay can maximize efficiency when the case is still in an early
5    stage. See, e.g., Taylor, Bean & Whitaker Mortg. Corp. v. Triduanum Fin., Inc., No. 2:09-
6    CV-0954 FCD EFB, 2009 WL 2136986, at *4 (E.D. Cal. July 15, 2009) (finding that where
7    “no scheduling order has been issued, and no dispositive motions have been filed . . .
8    [s]taying the case makes efficient use of judicial resources by ‘insuring that common issues
9    of fact will be resolved and subsequent civil discovery will proceed unobstructed by
10   concerns regarding self-incrimination”). Peter Marco does not address this argument.
11   Instead, he again makes the straw man argument that because no indictments have been
12   returned, any stay would be indefinite. Rechnitz Defendants have already explained why
13   this argument fails, as an indictment is not a requirement for a stay and the requested stay is
14   of a limited duration. Peter Marco suggests a stay may be appropriate should indictments
15   be returned. See Opp. at 14, n. 10 (noting “[i]f indictments are eventually returned against
16   any Rechnitz Defendants, the parties and, [sic] if necessary, the Court can then consider
17   whether a stay is appropriate under Keating, and if so, what the scope of such a stay should
18   be”). But this is an inefficiency Rechnitz Defendants are trying to avoid. At that point,
19   considerable resources will have been expended disputing discovery requests, litigating the
20   scope of the Fifth Amendment privilege, and preparing for trial. Efficiency favors a stay
21   now.
22          Peter Marco also claims a stay would disrupt the Court’s calendar. (Opp. at 21.) In
23   support of this argument, he cites to IBM v. Brown, 857 F. Supp. 1384, 1389 (C.D. Cal.
24   1994). Marco fails to note that the IBM case was in a completely different posture at the
25   time of the requested stay. Indeed, the defendants in IBM filed their motion to stay less
26   than three weeks before the civil trial date. IBM, 857 F. Supp. at 1389. Moreover, the
27   defendants in that case had already testified at a deposition, rendering the Fifth Amendment
28   privilege “negligible.” Id. at 1390. Regardless, this Court has noted that “the courts exist
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                 THIRD-PARTY DEFENDANTS’ REPLY ISO MOTION FOR STAY OF PROCEEDINGS
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1    to mete out justice—not solely to clear out cases.” Pinnock, 2014 WL 4679007, at *4. “If
2    judicial efficiency and a party’s constitutional rights are at loggerheads, surely the latter
3    must prevail lest the Court exalt procedure over substance.” Id. Thus, the interests of
4    judicial efficiency weigh in favor of a temporary stay.
5              Peter Marco does not address the Keating factor of whether persons not parties to
6    this action will be adversely impacted by the proposed stay. This factor weighs in favor of
7    a stay. The only non-parties who could conceivably be impacted by the stay are the
8    government and the two other petitioning creditors involved in the involuntary bankruptcy
9    petition filed against Jadelle LLC. As discussed in the Motion, neither the government nor
10   the petitioning creditors would be adversely impacted by a stay. The government has
11   indicated that it supports a stay of matters related to the criminal investigation. (See Cohen
12   Decl., ¶ 11.) And with respect to the petitioning creditors, should they be successful in
13   forcing Jadelle LLC into involuntary bankruptcy, they would surely benefit from having
14   their claims considered prior to the claims at issue in this case. Peter Marco should
15   understand that, as he is one of the petitioning creditors. This factor also weighs in favor of
16   a stay.
17             Finally, the interests of the public favor a stay. See Jones v. Conte, No. C 04-5312
18   SI, 2005 WL 1287017, at *2 (N.D. Cal. Apr. 19, 2005) (“[T]he public interest is furthered
19   by a stay because ‘the public’s interest in the integrity of the criminal case is entitled to
20   precedence over the civil litigant.’”). Thus, the balance of factors weighs in favor of a stay.
21   C.        The Pending Bankruptcy Proceeding Favors a Stay.
22             Peter Marco misconstrues the nature of Rechnitz Defendants’ request for a stay in
23   light of the pending bankruptcy proceeding. As a threshold matter, Marco’s assertion that
24   Mr. Rechnitz was required to file a motion for a stay with the bankruptcy court is
25   inaccurate. “The automatic stay in bankruptcy comes into existence as a matter of law; it is
26   self-effectuating.” In re Atkins, 176 B.R. 998, 1004 (Bankr. D. Minn. 1994). If Peter
27   Marco wants to pursue a lawsuit in violation of the automatic stay, then he is required to
28   seek relief from the bankruptcy court.
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                    THIRD-PARTY DEFENDANTS’ REPLY ISO MOTION FOR STAY OF PROCEEDINGS
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1          The automatic stay prevents the pursuit of any action to “recover a claim against the
2    debtor . . .” or “any act to obtain possession of property of the estate . . . .” 11 U.S.C. §
3    362. When Peter Marco filed the involuntary bankruptcy petition against Jadelle LLC, it
4    triggered the automatic stay. Rechnitz Defendants are not asserting that the automatic stay
5    necessarily extends to all causes of action before this Court. However, any claim seeking
6    to recover, collect from, or take possession of property in which the debtor has an interest
7    would automatically be stayed. For instance, to the extent Peter Marco’s request in this
8    action “for a constructive trust over the Consigned Jewelry and all proceeds therefrom”
9    (Complaint at 41, ¶ 5) involves property that he alleges belongs to the putative debtor, it
10   would be subject to the automatic stay. Rechnitz Defendants thus believe the Court should
11   stay the proceedings as to any other claims to avoid piecemeal litigation of Peter Marco’s
12   allegations—in addition to the Fifth Amendment reasons for staying this case.
13         Additionally, Rechnitz Defendants request a stay pending resolution of the
14   bankruptcy matter in the interest of fairness. See Leyva v. Certified Grocers of Cal., Ltd.,
15   593 F.2d 857, 863 (9th Cir. 1979) (“A trial court may, with propriety, find it is efficient for
16   its own docket and the fairest course for the parties to enter a stay of an action before it,
17   pending resolution of independent proceedings which bear upon the case.”). Peter Marco
18   has attempted to game the system by essentially pursuing the same claim before this Court
19   and the bankruptcy court, while taking inconsistent positions in both forums. In this action,
20   Marco alleges that he consigned the jewelry at issue to Mr. Rechnitz. (See, e.g., Complaint
21   at ¶ 33 (“At the time, Marco had no reason to believe that the $6,950,444.40 consignments
22   with Rechnitz would be in jeopardy . . . .” (emphasis added).) However, in an effort to
23   prove its supposedly “undisputed” claim against Jadelle in the bankruptcy proceeding,
24   Peter Marco recently testified that he consigned the same items to Jadelle—not Mr.
25   Rechnitz. (See, e.g., (Declaration of Peter Marco in Support of Petitioning Creditors’
26   Motion for Appointment of Interim Chapter 7 Trustee at ¶ 6, In re Jadelle Jewelry and
27   Diamonds, LLC, No. 20-bk-13530-BR (C.D. Cal. May 19, 2020), ECF No. 17 (“At the
28   time, I had no reason to believe that the $6,950,44.40 in consignments with Jadelle would
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                 THIRD-PARTY DEFENDANTS’ REPLY ISO MOTION FOR STAY OF PROCEEDINGS
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1    be in jeopardy . . . .”) (emphasis added).) 4 In fact, Marco essentially copied and pasted the
2    same allegations, only changing the name of the consignee.
3          Because it is clear that, according to Peter Marco, the consigned jewelry at issue in
4    this case is the same consigned jewelry that Peter Marco stakes his claim to in the
5    bankruptcy proceeding, and because he is attempting to pursue these claims under different
6    theories in two different forums, fairness, on top of the automatic stay and Rechnitz
7    Defendants’ Fifth Amendment concerns, supports a stay of this civil action. And in fact,
8    Peter Marco’s Opposition seems to support a stay as well. (See Opp. at 24 (“While it is
9    true that Marco’s Third-Party Complaint requests the imposition of a constructive trust
10   against the Rechnitz Defendants, who are in possession of the Consigned Jewelry set forth
11   in the Consignment Memos and for an order and judgment that they hold the consigned
12   jewelry and/or all proceeds therefrom as constructive trustees for the benefit of Marco, the
13   ultimate disposition of Marco’s claims to the Consigned Jewelry lies with the Bankruptcy
14   Court to decide, not with this Court.” (emphasis added)).) Therefore, Rechnitz Defendants
15   respectfully request that this Court grant a stay.
16                                     III.   CONCLUSION
17         For the foregoing reasons, Rechnitz Defendants respectfully request that the Court
18   stay prosecution of Peter Marco’s claims in this action against Rechnitz Defendants for six
19   months, at which point Rechnitz Defendants request a status conference to determine
20   whether a further stay is warranted.
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23   4
       Peter Marco’s declaration also casts serious doubts on his claim in this case that he ever
     consigned jewelry to Mr. Rechnitz, individually. Marco attached a version of a
24   memorandum that he submitted to Jadelle LLC for certain pieces of jewelry to his
     declaration before the bankruptcy court, representing it was a true and correct copy. As
25   evidenced by Jadelle LLC’s carbon copy of the same invoice, which was filed as an exhibit
     in the bankruptcy matter, Marco had added information to the invoice after a Jadelle LLC
26   employee had signed the memorandum. (Compare Declaration of Peter Marco, Exh. A at
     20, In re Jadelle Jewelry and Diamonds, LLC, No. 20-bk-13530-BR (C.D. Cal. May 19,
27   2020), ECF No. 17 with Putative Debtor’s Index of Exhibits, Exh. 12 at 202.) The changes
     made to the invoice included adding Mr. Rechnitz as a consignee, though the carbon copy
28   shows Jadelle was the only consignee on the original agreement.
                                                     12
                 THIRD-PARTY DEFENDANTS’ REPLY ISO MOTION FOR STAY OF PROCEEDINGS
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1                                             Respectfully submitted,
2    Dated: June 1, 2020                      COHEN WILLIAMS LLP
3
4                                          By: /s/ Marc S. Williams
                                              Marc S. Williams
5
                                              Reuven L. Cohen
6                                             Brittany L. Lane
                                              Youngbin Son
7
8                                              Attorneys for Third-Party Defendants,
                                               JONA S. RECHNITZ and RACHEL
9
                                               RECHNITZ
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                THIRD-PARTY DEFENDANTS’ REPLY ISO MOTION FOR STAY OF PROCEEDINGS
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1                SUPPLEMENTAL DECLARATION OF REUVEN L. COHEN
2          I, Reuven L. Cohen, declare as follows:
3          1.     I am over the age of eighteen and am an attorney duly licensed to practice law
4    in the State of California. I am a partner at Cohen Williams LLP and attorney of record for
5    Third-Party Defendants Jona S. Rechnitz and Rachel Rechnitz (collectively, “Rechnitz
6    Defendants”) in the above-captioned action.
7          2.     I make this supplemental declaration in support of Rechnitz Defendants’ Motion
8    for Stay of Proceedings (“Motion”). This declaration is based upon my personal knowledge
9    and based on the files and records in this case. If called upon to testify as to the matters set
10   forth in this declaration, I could and would do so.
11         3.     For purposes of clarifying my previous declaration filed in support of the
12   Motion, my firm was previously informed by an Assistant United States Attorney for the
13   United States Attorney’s Office, Central District of California, that the scope of the criminal
14   investigation into the Rechnitz Defendants’ jewelry business included, among other things,
15   the allegations set forth by Peter Marco in his filings before this Court. Should the Court
16   wish to hear more details regarding the criminal investigation, Rechnitz Defendants intend
17   to file an ex parte application for the Court’s approval to file, in camera, an additional
18   declaration that will provide more information about the investigation.
19         4.     For purposes of clarifying the record with respect to the meet and confer
20   correspondence related to the Motion, a true and correct copy of that correspondence is
21   attached hereto as Exhibit A.
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                            SUPPLEMENTAL DECLARATION OF REUVEN L. COHEN
 Case 2:20-cv-02580-ODW-AS Document 55 Filed 06/01/20 Page 19 of 26 Page ID #:672


1          I declare under penalty of perjury under the laws of the United States of America that
2    the foregoing is true and correct.
3          Executed on June 1, 2020, at Los Angeles, California.
4
5
                                                   By:
6                                                        Reuven L. Cohen
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                            SUPPLEMENTAL DECLARATION OF REUVEN L. COHEN
Case 2:20-cv-02580-ODW-AS Document 55 Filed 06/01/20 Page 20 of 26 Page ID #:673




                            EXHIBIT A
             Cohen Williams LLP Mail - Re: PETER Document
6/1/2020Case 2:20-cv-02580-ODW-AS                MARCO LLC VS55
                                                              RECHNITZ
                                                                 Filed- USDC # 2:20-CV-02580-ODW-AS:
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                                                                                                        PageMEET & CONFER R…
                                                                                                             ID #:674


                                                                                                          Brittany Lane <blane@cohen-williams.com>



  Re: PETER MARCO LLC VS RECHNITZ - USDC # 2:20-CV-02580-ODW-AS: FURTHER
  MEET & CONFER RE: RECHNITZ’S REQUEST TO STAY THIS PROCEEDING
  BECAUSE OF “THE PENDING CRIMINAL INVESTIGATION”
  1 message

  Baruch Cohen <baruchcohen@baruchcohenesq.com>                                      Sat, May 9, 2020 at 8:49 PM
  Reply-To: bcc@baruchcohenesq.com
  To: Brittany Lane <blane@cohen-williams.com>, BARUCH COHEN <baruchcohen@baruchcohenesq.com>
  Cc: BARUCH COHEN <bcc@baruchcohenesq.com>, Marc Williams <mwilliams@cohen-williams.com>, Michael Schafler
  <mschafler@cohen-williams.com>, Reuven Cohen <rcohen@cohen-williams.com>

    Sure

    ---
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    Office (323) 937-4501 | Cell (323) 353-9535
    Facsimile: (888) 316-6107
    Email: baruchcohen@baruchcohenesq.com, bcc4929@gmail.com
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    On Sat, May 9, 2020 at 11:42 AM Brittany Lane <blane@cohen-williams.com> wrote:
     Mr. Cohen,

       While I disagree with your characterizations, I am happy to discuss your position during a meet and confer call on
       Monday. Does 11 a.m. work for you? If so, I will circulate a dial-in. If not, please let me know when you are available
       for a call.

       Best,
       Brittany

       Brittany L. Lane
       COHEN WILLIAMS LLP
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       Los Angeles, CA 90014
       Tel: 213-232-5165
       Fax: 213-232-5167
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https://mail.google.com/mail/u/0?ik=78b964c8a3&view=pt&search=all&permthid=thread-f%3A1666168500113498296%7Cmsg-f%3A16662738633085… 1/6
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                                                                                                        PageMEET & CONFER R…
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      On Fri, May 8, 2020 at 7:27 PM Baruch Cohen <baruchcohen@baruchcohenesq.com> wrote:
       Via email: blane@cohen-williams.com

        Brittany L. Lane, Esq.
        Cohen Williams, LLP
        724 South Spring Street, 9th Floor
        Los Angeles, CA 90014

        Re: Peter Marco LLC vs Rechnitz - USDC # 2:20-cv-02580-ODW-AS: Further Meet & Confer re: Rechnitz’s
        Request to Stay This Proceeding Because of “The Pending Criminal Investigation”-2

        Dear Ms. Lane:

        Your statement that you were "alerted" to the existence of a criminal investigation by a separate litigant, whose draft
        complaint indicated that he had reported the defendants to the Beverly Hills Police Department ("BHPD"), was
        patently deceptive and misleading.

        First, in response to my inquiries, you sent me a 2-4-2020 draft complaint from the Victor Franco Noval vs Rechnitz,
        LASC # 20SMCV00216 matter where a statement was made therein that Noval reported your clients to the police for
        the frauds they committed to him. The Noval complaint makes my point that I made to you earlier today; why should
        this Marco vs. Rechnitz matter be stayed because your clients are allegedly being criminally investigated in the Noval
        vs Rechnitz matter?

        Second, you were not recently "alerted" by a soon-to-be filed new plaintiff about a police report. You’ve known about
        Noval’s alleged police report since 2-4-2020.

        Third, you were not alerted by a “draft complaint” but rather by Nova’s filed complaint of 2-10-2020 which made the
        same claim.

        Fourth, there was no need for you to hide the identity of Noval’s counsel to me as you know we are both counsel to
        the petitioning creditors in the Jadelle involuntary bankruptcy: In re Jadelle Jewelry and Diamonds, LLC: USBC #
        2:20-BK-13530-BR.

        Fifth, your statement that my client: “has been driving around the neighborhood where Jona and Rachel Rechnitz
        reside, and that he followed Rachel in his car and stared her down through the window” is false. My client was
        returning merchandise to a vendor’s son who lives on Bolton Road (around the corner from the Rechnitz’s), parked
        his car in front of the client’s son’s home, when Rachel Rechnitz walked by pushing her stroller. My client did not
        follow Rachel in his car, as his car was parked. My client’s vendor’s son witnessed the chance encounter.

        Sixth, without the contact information of the Beverly Hills Police Department detective who allegedly informed you
        that the Marco vs. Rechnitz matter had been referred to the FBI, and without the contact information of the United
        States Attorney's Office for the Central District of California that there is a criminal investigation of your clients related
        to the Marco vs. Rechnitz matter, and who supports a stay of the Marco vs. Rechnitz matter, to verify your
        statements, you leave me with no evidence to properly evaluate your request for a stay.

        If you still need to discuss this further, we can speak on Monday.

        If you have any questions or comments regarding the above, please do not hesitate to call.

        BCC
        ---
        Baruch C. Cohen, Esq.
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        Los Angeles, CA 90010
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        On Fri, May 8, 2020 at 6:43 PM Brittany Lane <blane@cohen-williams.com> wrote:
         Mr. Cohen,

           I am in receipt of your letter to Marc Williams. I have attached the draft complaint we received that I identified in
           my prior email. While we do not have a copy of any police report, Reuven Cohen from my firm spoke with a
           Detective Diamond concerning the matter, and was told that the department had referred the matter to the FBI.
           Thereafter, Reuven Cohen and I spoke with the AUSA assigned to the matter, who expressly asked not to have his
           name made public. Our firm intends to honor the government's request on this score.

           I have disclosed the basis for our motion to stay and have tried to schedule a meet and confer call. In response,
           you sent a letter to a separate member of my firm questioning my veracity. If you would prefer not to meet and
           confer, that is your choice. If you would like to participate in a meet and confer call, please let me know what your
           availability is for this evening, this weekend, or Monday. I am generally available and will do my best to
           accommodate your schedule.

           Also, I have been informed that your client has been driving around the neighborhood where Jona and Rachel
           Rechnitz reside, and that he followed Rachel in his car and stared her down through the window. This type of
           intimidation and harassment is wholly inappropriate. Please ask him to cease this behavior immediately.

           Best,
           Brittany

           Brittany L. Lane
           COHEN WILLIAMS LLP
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           Los Angeles, CA 90014
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           www.cohen-williams.com


           On Fri, May 8, 2020 at 4:55 PM Baruch Cohen <baruchcohen@baruchcohenesq.com> wrote:
            Via email: mwilliams@cohen-williams.com

              Marc S. Williams, Esq.
              Cohen Williams, LLP
              724 South Spring Street, 9th Floor
              Los Angeles, CA 90014

              Re: Peter Marco LLC vs Rechnitz - USDC # 2:20-cv-02580-ODW-AS: Further Meet & Confer re: Rechnitz’s
              Request to Stay This Proceeding Because of “The Pending Criminal Investigation”

              Dear Mr. Williams:

              In response to Brittany L. Lane’s letter of this date, she wrote:

                 “With respect to the criminal investigation, we were alerted to the existence of this investigation by a separate
                 litigant, whose draft complaint indicated that he had reported the defendants to the Beverly Hills Police
                 Department ("BHPD"). A detective with the BHPD informed us that the matter had been referred to the FBI.
                 We then confirmed with the United States Attorney's Office for the Central District of California ("USAO") that
https://mail.google.com/mail/u/0?ik=78b964c8a3&view=pt&search=all&permthid=thread-f%3A1666168500113498296%7Cmsg-f%3A16662738633085… 3/6
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                there is an investigation related to the jewelry business involving defendants. While the USAO did not
                disclose to us every detail of their investigation (which I assume you agree would be highly unusual), they
                informed us that they supported a stay of civil matters related to the jewelry business.”

             With all due respect to Ms. Lane, an unidentified litigant in a separate matter (not relating to this Marco vs.
             Rechnitz matter), with an undisclosed draft complaint, an unidentified BHPD detective who allegedly said that
             the separate litigant’s matter was referred to the FBI, and an unidentified AUSAO who allegedly supports a stay
             of civil matters “related to the jewelry business” in general (not relating to this Marco vs. Rechnitz matter) is
             woefully insufficient evidence for me to properly evaluate the merits of your request for a stay. First, I have not
             been contacted by any AUSAO requesting a stay. Second, why should this Marco vs. Rechnitz matter be stayed
             because your clients are being criminally investigated in another separate matter?

             Notwithstanding my reservations as to the veracity of Ms. Lane’s letter, and the relevance to this Marco vs.
             Rechnitz matter, and pursuant to USDC Local Rule 7-3's meet & confer requirement, please provide me with the
             following:

             1. An un-redacted copy of the draft complaint that you received from the unidentified separate litigant that
             indicated that he had reported your clients to the Beverly Hills Police Department;

             2. A copy of the BHPD report against your clients;

             3. The contact information of the Beverly Hills Police Department detective who informed you that the Marco vs.
             Rechnitz matter had been referred to the FBI;

             4. The contact information of the United States Attorney's Office for the Central District of California that there is
             a criminal investigation of your clients related to the Marco vs. Rechnitz matter, and who supports a stay of the
             Marco vs. Rechnitz matter.

             Upon review of the above, I will further evaluate the stay request, and then we can discuss this matter further.

             If you have any questions or comments regarding the above, please do not hesitate to call.

             BCC

             ---
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             Los Angeles, CA 90010
             Office (323) 937-4501 | Cell (323) 353-9535
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             have received this communication in error, please notify us immediately by e-mail and destroy this communication.




             On Fri, May 8, 2020 at 3:00 PM Brittany Lane <blane@cohen-williams.com> wrote:
              Thanks, Baruch. Would you be available today at 3:30 pm? If not, please propose a time that works for you.

                With respect to the criminal investigation, we were alerted to the existence of this investigation by a separate
https://mail.google.com/mail/u/0?ik=78b964c8a3&view=pt&search=all&permthid=thread-f%3A1666168500113498296%7Cmsg-f%3A16662738633085… 4/6
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                litigant, whose draft complaint indicated that he had reported the defendants to the Beverly Hills Police
                Department ("BHPD"). A detective with the BHPD informed us that the matter had been referred to the FBI.
                We then confirmed with the United States Attorney's Office for the Central District of California ("USAO") that
                there is an investigation related to the jewelry business involving defendants. While the USAO did not
                disclose to us every detail of their investigation (which I assume you agree would be highly unusual), they
                informed us that they supported a stay of civil matters related to the jewelry business.

                Additionally, your client also informed one of our clients, Jona Rechnitz, that he was going to speak with the
                FBI regarding his dealings with Jona and the Jadelle entities, so I don't believe the existence of an
                investigation would be news to your client.

                Best,
                Brittany

                Brittany L. Lane
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                Fax: 213-232-5167
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                www.cohen-williams.com


                On Fri, May 8, 2020 at 1:05 PM Baruch Cohen <baruchcohen@baruchcohenesq.com> wrote:
                 Counsel:

                           I am available today or Monday to meet & confer.
                           Pursuant to USDC Local Rule 7-3 - Conference of Counsel Prior to Filing of Motions, please explain
                           the basis for your request to stay this action "in light of pending criminal investigation." What pending
                           investigation, and was it regarding this matter?
                           Please advise.

                  BCC

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                  On Fri, May 8, 2020 at 11:15 AM Brittany Lane <blane@cohen-williams.com> wrote:
                   Baruch,

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6/1/2020Case 2:20-cv-02580-ODW-AS                MARCO LLC VS55
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                                                                        06/01/20     Page 26 of 26   FURTHER
                                                                                                        PageMEET & CONFER R…
                                                                                                             ID #:679
                    I hope you are doing well. Are you available for a call either today or Monday? We would like to meet
                    and confer concerning a motion for stay that we intend to file absent any agreement between the parties
                    that the matter should be stayed in light of the pending criminal investigation.

                    Best,
                    Brittany

                    Brittany L. Lane
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